Case 6:23-cv-01162-RBD-RMN      Document 96     Filed 07/10/25     Page 1 of 7 PageID 1746




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

  ANTHONY EL-KHOURI,

        Plaintiff,

  v.                                               Case No. 6:23-cv-1162-RBD-RMN

  EASTERN FLORIDA STATE
  COLLEGE BOARD OF TRUSTEES,

        Defendant.
  ____________________________________

                                       ORDER

        Before the Court is Plaintiff Anthony El-Khouri’s motion for a new trial.

  (Doc. 92.) The motion is due to be denied.

                                   BACKGROUND

        This employment discrimination case went to trial in March 2025. (Doc. 77.)

  On the first day of trial, El-Khouri began his case-in-chief with his own testimony.

  (Doc. 94, p. 34:1–2.) By the end of the first day, the only remaining testimony from

  El-Khouri was the redirect examination. (Id. at 156:2–9.) That evening and early

  the next morning, El-Khouri’s counsel Melissa Mihok, Esq. exchanged emails with

  two witnesses under subpoena—Laura Earle and Ramona Smith—who confirmed

  they would attend the second day of trial. (Docs. 92-1, 92-2.)

        On the second day, Attorney Mihok finished questioning El-Khouri and
Case 6:23-cv-01162-RBD-RMN        Document 96        Filed 07/10/25   Page 2 of 7 PageID 1747




  elicited testimony from Sandra Handfield, Barbara Kennedy, and Scott Herber.

  (Doc. 95, pp. 5:7–119:12.) After the Court excused Herber, Attorney Mihok checked

  the hallway for El-Khouri’s next witness but could not find Earle, whom El-Khouri

  wanted to call next. (Id. at 119:15–23.) After telling the Court that Earle was

  “supposed to be here” that morning but was not in the hallway, Attorney Mihok

  stated, “[o]utside of that, the plaintiffs will rest.” (Id. at 119:19–24.) Defense counsel

  asked for Attorney Mihok to clarify whether El-Khouri wanted to rest or wait for

  Earle. (Id. at 120:2–4.) After confirming with the Court that it would not wait for a

  witness if none was available, El-Khouri rested. (Id. at 120:6–10.) The Court then

  excused the jury for a lunch break at 11:50 a.m. (Id. at 120:14–22.)

        After the jury left, the Court asked Attorney Mihok whether she had

  subpoenaed Earle, and Attorney Mihok confirmed that she had. (Id. at 121:5–10.)

  Attorney Mihok also stated that Dedra Sibley, another of El-Khouri’s witnesses,

  could testify the next morning but was unavailable that day, despite also being

  under subpoena. (Id. at 121:11–15; Doc. 92-2, pp. 4, 10–11.) Attorney Mihok did not

  mention Smith. (See Doc. 95, pp. 121:3–122:25.) The Court reminded Attorney

  Mihok that its rules dictate that the Court will not wait for a witness, so the Court

  would permit another witness only if one was present. (Id. at 122:6–18; Doc. 19,

  p. 19 ¶ 9.) Attorney Mihok asked the Court to allow her to call Sibley “out of order”

  during Defendant’s case-in-chief the next day, and the Court denied this request.


                                                 2
Case 6:23-cv-01162-RBD-RMN        Document 96         Filed 07/10/25   Page 3 of 7 PageID 1748




  (Doc. 95, p. 122:19–25.) After confirming that El-Khouri rested, Defendant moved

  for judgment as a matter of law and the Court granted it, entering judgment for

  Defendant on El-Khouri’s claims. (Id. at 123:4–143:11; see Doc. 85.)

        After the trial concluded, Earle emailed Attorney Mihok to tell her that she

  had waited in the courthouse for over two hours, but courthouse security had sent

  her to wait outside the wrong courtroom. (Doc. 92-1, p. 1.) As for Smith, Attorney

  Mihok believes she also was misdirected. (Doc. 92-3, ¶¶ 10–11.) But Smith asserts

  that she sat outside the correct courtroom from 9:00 a.m. to 12:30 p.m. and was

  never called to testify. (Doc. 93-2, ¶¶ 6–9.)

        El-Khouri now moves for a new trial, and Defendant opposes. (Docs. 92, 93.)

  The matter is ripe.

                                      STANDARDS

        A court may grant a new trial under Federal Rule of Civil Procedure 59(a)

  “for any reason for which a new trial has heretofore been granted in an action at

  law in federal court.” Fed. R. Civ. P. 59(a)(1)(A). This reason may be substantial

  errors in the admission or rejection of evidence or that the trial was unfair.

  McGinnis v. Am. Home Mortg. Servicing, Inc., 817 F.3d 1241, 1254 (11th Cir. 2016).

  But a new trial will be granted only if there was error and that error caused

  substantial prejudice to the affected party. Peat, Inc. v. Vanguard Rsch., Inc., 378 F.3d

  1154, 1162 (11th Cir. 2004); see Fed. R. Civ. P. 61. Granting a motion for new trial is


                                                  3
Case 6:23-cv-01162-RBD-RMN        Document 96       Filed 07/10/25   Page 4 of 7 PageID 1749




  a matter of discretion. See Mekdeci ex rel. Mekdeci v. Merrell Nat’l Lab’ys, 711 F.2d

  1510, 1513 (11th Cir. 1983).

                                        ANALYSIS

         El-Khouri argues that having to rest his case without Earle, Smith, and

  Sibley’s testimony because of factors outside of his control warrants a new trial.

  (Doc. 92, p. 6.) Defendant counters that the witnesses’ inability to testify was due

  to El-Khouri and his counsel’s actions only, not error justifying a new trial.

  (Doc. 93, p. 6.)

         A court has broad discretion in managing its trials. United States v. Hilliard,

  752 F.2d 578, 582 (11th Cir.1985). In overseeing the admission of evidence, a court

  “should exercise reasonable control over the mode and order of examining

  witnesses and presenting evidence so as to . . . avoid wasting time.” Fed. R.

  Evid. 611(a)(2); cf. Fed R. Civ. P. 16(e).

         The Court managed the trial according to its Case Management and

  Scheduling Order (“CMSO”), which established that a party “must rest their case

  when the party does not have a witness or evidence available to present during

  the hours designated for trial.” (Doc. 19, p. 19 ¶ 9); cf. Josendis v. Wall to Wall

  Residence Repairs, Inc., 662 F.3d 1292, 1307 (11th Cir. 2011) (holding litigants to

  scheduling orders generally not abuse of discretion). Acknowledging the CMSO,

  El-Khouri rested—without Attorney Mihok requesting any relief such as a recess,


                                                4
Case 6:23-cv-01162-RBD-RMN          Document 96         Filed 07/10/25   Page 5 of 7 PageID 1750




  early lunch to contact the witnesses, continuance, or Court order to enforce the

  subpoenas. (Doc. 95, pp. 119:16–120:10); see Fed. R. Civ. P. 45(g) (court may hold

  people who do not obey a subpoena in contempt); Jenkins v. Anton, 922 F.3d 1257,

  1266 (11th Cir. 2019) (court did not abuse discretion when plaintiff strategically

  elected to rest without asking for a continuance). It is counsel’s role, not the

  Court’s, to put on her case and advocate for her client—so El-Khouri cannot now

  colorably argue that the Court erred when his counsel did not timely seek relief

  from the Court’s long-held practices of which she was aware. Cf. Walter Int’l Prods.,

  Inc. v. Salinas, 650 F.3d 1402, 1408 (11th Cir. 2011) (too late for party to object to

  time limits set on the presentation of evidence when jury already entered its

  verdict). Although the Court denied El-Khouri’s request to call Sibley out of order,

  Sibley was only unavailable because Attorney Mihok told her she did not have to

  attend the second day of trial. (Doc. 92-1, pp. 4–5; Doc. 92-3, ¶ 8); cf. Jenkins v.

  Anton, No. 8:15-cv-283, 2017 WL 2480583, at *1 (M.D. Fla. June 8, 2017), aff’d, 922

  F.3d 1257 (11th Cir. 2019) (no injustice because plaintiff’s inability to present

  testimony was due to her own choices). So El-Khouri has articulated no error by

  the Court that warrants a new trial. 1 See Peat, 378 F.3d at 1162.



         1 The parties’ dispute about where Smith was when El-Khouri rested is irrelevant because

  he rested without seeking any relief from the Court as it pertains to Smith. (Doc. 92-3, ¶ 10;
  Doc. 93-2, ¶¶ 6–9.) Whether it was El-Khouri’s choice not to call Smith or Smith’s failure to
  appear, there is no error attributable to the Court. Jenkins, 922 F.3d at 1266.

                                                    5
Case 6:23-cv-01162-RBD-RMN       Document 96        Filed 07/10/25   Page 6 of 7 PageID 1751




        El-Khouri further argues that he was prejudiced by the inability to call Earle,

  Smith, and Sibley because their testimony could have changed the outcome of

  Defendant’s Rule 50 motion. (Doc. 92, pp. 6–7.) El-Khouri asserts that Smith and

  Sibley would have testified about El-Khouri’s positive job performance and that

  Defendant went outside of its normal practice when it did not renew El-Khouri’s

  contract. (Id. at 6.) Earle would have “corroborated” El-Khouri’s testimony that his

  national origin played a role in his contract non-renewal because a college

  administrator apologized to El-Khouri for his treatment. (Id. at 6–7.) For

  evidentiary errors to warrant a new trial, the movant must have suffered

  substantial prejudice. See Peat, 378 F.3d at 1162. Considering the rest of El-Khouri’s

  thinly supported case, the Court is unconvinced that testimony about procedures

  and performance that would be mostly cumulative or corroborative would have

  tipped the scales on the Court’s ruling on Defendant’s Rule 50 motion. (Doc. 94,

  pp. 71:14–19, 81:1–19, 136:21–137:8; see Doc. 85); cf. United States v. Cross, 928 F.2d

  1030, 1049 (11th Cir. 1991) (continuance not warranted for cumulative testimony

  with marginal benefit to defendant). With no error in the first place and no

  substantial prejudice even if there were, El-Khouri is not entitled to a new trial.

                                    CONCLUSION

        Accordingly, it is ORDERED AND ADJUDGED that Plaintiff’s motion

  (Doc. 92) is DENIED.


                                                6
Case 6:23-cv-01162-RBD-RMN   Document 96       Filed 07/10/25   Page 7 of 7 PageID 1752




        DONE AND ORDERED in Chambers in Orlando, Florida, on July 10, 2025.




                                           7
